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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
FRANKLYN DEVON PRILLERMAN :
                  Plaintiff,         :
                                     :
      v.                             : CIVIL ACTION NO. 13-1414
                                     :
                                     :
CITY OF PHILADELPHIA, et al.         :
                  Defendants.        :

                                  MEMORANDUM OPINION

Rufe, J.                                                                          August 10, 2016

       Plaintiff, who is proceeding pro se, filed suit under 42 U.S.C. § 1983, challenging the

conditions of his confinement in the Curran Fromhold Correctional Facility (“CFCF”) in

Philadelphia. Plaintiff alleges that his constitutional rights were violated when he was denied

access to his attorney and when a correctional officer denied Plaintiff access to the toilet in his

assigned cell, causing Plaintiff to urinate on himself, an action which Plaintiff attributes to the

City’s policy of permitting overcrowding in the housing unit. Defendants have moved for

summary judgment. For the reasons set forth below, the motion will be granted.

I.     FACTS

       The parties have stipulated to the following facts for purposes of summary judgment. In

2010, Plaintiff was placed on probation after a criminal conviction in Arkansas. Plaintiff then

returned to Philadelphia. On November 29, 2012, Plaintiff was arrested for violating the

conditions of his Arkansas probation and detained at CFCF, pending his extradition to Arkansas.

On December 11, 2012, Plaintiff was taken to a video conference hearing room at CFCF for an

extradition hearing. Before the hearing, Plaintiff spoke with his attorney by telephone on the

instructions of Correction Officer Lynch, who directed Plaintiff to answer only “yes” to any
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questions asked by the attorney. In the video hearing, Plaintiff agreed to waive extradition after

being questioned on the record.

       On December 11, 2012, Plaintiff was in the day room at CFCF, participating in

recreational time. He asked Correction Officer Melton to open his locked cell so that he could

use the toilet, but Officer Melton did not immediately respond and Plaintiff urinated himself.

Within five to ten minutes, Officer Melton conducted a tour and Plaintiff’s cell was opened.

II.    STANDARD OF REVIEW

       A court will award summary judgment on a claim or part of a claim where there is “no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.”1 A fact is “material” if resolving the dispute over the fact “might affect the outcome of the

suit under the governing [substantive] law.”2 A dispute is “genuine” if “the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.”3

       In evaluating a summary judgment motion, a court “must view the facts in the light most

favorable to the non-moving party,” and make every reasonable inference in that party’s favor.4

Further, a court may not weigh the evidence or make credibility determinations.5 Nevertheless,

the party opposing summary judgment must support each essential element of the opposition

with concrete evidence in the record.6 “If the evidence is merely colorable, or is not significantly




       1
           Fed. R. Civ. P. 56(a).
       2
           Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
       3
           Id.
       4
           Hugh v. Butler County Family YMCA, 418 F.3d 265, 267 (3d Cir. 2005).
       5
           Boyle v. County of Allegheny, 139 F.3d 386, 393 (3d Cir. 1998).
       6
           Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).

                                                         2
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probative, summary judgment may be granted.”7 This requirement upholds the “underlying

purpose of summary judgment [which] is to avoid a pointless trial in cases where it is

unnecessary and would only cause delay and expense.”8 Therefore, if, after making all

reasonable inferences in favor of the non-moving party, the court determines that there is no

genuine dispute as to any material fact, summary judgment is appropriate.9 Finally, although the

Court liberally construes Plaintiff’s pro se filings, Plaintiff must set forth facts, supported by

affidavits or other evidence of record, sufficient to survive summary judgment.10

III.      DISCUSSION

          A. Exhaustion of Administrative Remedies

          The Prison Litigation Reform Act of 1995 (“PLRA”)11 was enacted in part “to reduce the

quantity . . . of prisoner suits,” one component of which is an “invigorated” exhaustion

provision,12 which provides:

                 No action shall be brought with respect to prison conditions under section
                 1983 of this title, or any other Federal law, by a prisoner confined in any jail,
                 prison, or other correctional facility until such administrative remedies as are
                 available are exhausted.13

       A prisoner must exhaust all “available” remedies and cannot proceed to trial without

pursuing all properly sought remedies through the prison grievance system, even if the grievance

          7
              Anderson, 477 U.S. at 249-50 (internal citations omitted).
          8
         Walden v. Saint Gobain Corp., 323 F. Supp. 2d 637, 641 (E.D. Pa. 2004) (citing Goodman v. Mead
Johnson & Co., 534 F.2d 566, 573 (3d Cir. 1976)).
          9
              Wisniewski v. Johns-Manville Corp., 812 F.2d 81, 83 (3d Cir. 1987).
          10
               Houseknect v. Doe, 653 F. Supp. 2d 547, 555 (E.D. Pa. 2009).
          11
               42 U.S.C. § 1997e et seq.
          12
               Porter v. Nussle, 534 U.S. 516, 524 (2002).

          13
               42 U.S.C. § 1997e(a).

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system could not afford him the relief he seeks.14 Defendants argue that although Plaintiff filed a

grievance, he failed to follow through with pursuing additional administrative remedies. The

Court will not grant summary judgment on this basis, however, because Defendants have

produced the grievance policy enacted in 2014, and have not shown that the same policy was in

effect in 2012, and because it is not clear from the record when Plaintiff was transferred out of

CFCF and therefore whether he had the opportunity to pursue further administrative remedies. 15

                B.       Eighth Amendment Claim

         A prison official violates the Eighth Amendment when she acts with a sufficiently

culpable state of mind in deliberate indifference to a known, objectively serious risk to a

prisoner’s health or safety.16 In order to implicate the Eighth Amendment, a condition of

confinement must be one that is deemed inhumane under contemporary standards or one that

deprives an inmate of minimal civilized measure of the necessities of life.17 Plaintiff has not

demonstrated such conditions existed during his brief stay at CFCF. “The fact that [a prisoner]

had to wait 15 minutes to access a toilet does not” rise to the level of a constitutional violation.18

In this regard, the “temporary, everyday need to urinate does not constitute a serious medical

need” as the Constitution requires.19 Plaintiff argues that he was denied access to the toilet for a




         14
              Porter, 534 U.S. at 524.

         15
           The Court notes that although Plaintiff argues that the PLRA is unconstitutional, as the Court’s ruling is
not based on the failure to exhaust or any other provision of that law, it will not address that argument.
         16
              Beers-Capitol v. Whetzel, 256 F.3d 120, 125 (3d Cir. 2001).
         17
              See Hudson v. McMillian, 503 U.S. 1, 8 (1992); Wilson v. Seiter, 501 U.S. 294, 298 (1991).
         18
              Stewart v. Varano, 601 F. App’x 107, 110 (3d Cir. 2015).
         19
              Id. (internal quotation marks and citation omitted).

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total of 25 minutes, which is not an appreciably longer time than that at issue in Stewart.20 For

these reasons, Plaintiff cannot prevail on this claim, either against Defendant Melton, or against

the City of Philadelphia pursuant to a Monell claim that the injury occurred pursuant to a policy

or custom of the City.21

               C.       First or Sixth Amendment Claim

         It is not clear whether Plaintiff’s claim that he was instructed only to answer “yes” to his

attorney’s questions alleges a violation of the right to access of the courts under the First

Amendment or a violation of the right to counsel under the Sixth Amendment, but Plaintiff

cannot prevail under either theory in this case.

         An inmate who alleges a violation of the right of access to the courts must be able to

show an actual injury.22 Actual injury can be demonstrated by showing that the defendant=s

actions resulted in the “loss or rejection of a legal claim.”23 The lost or rejected legal claim must

be specifically identified and meritorious.24 Here, Plaintiff has not shown that he lost any claim

or that his extradition was affected in any way by the correction officer’s directive.25

         To establish a violation of rights under the Sixth Amendment, Plaintiff must be able to

show that he had a right to counsel at his extradition hearing. The courts have held that an

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           Plff.’s Opp. Summ. J. at 14. Plaintiff also has presented no evidence that Defendant Melton intended, or
was deliberately indifferent to, a risk to Plaintiff’s health, or that such a risk was serious. See Woloszyn v. County of
Lawrence, 396 F.3d 314, 321 (3d Cir. 2005).
         21
             Monell v. New York City Dep’t of Soc. Servs., 436 U.S. 658 (1978). To the extent Plaintiff has alleged
that there is overcrowding at CFCF, he has not presented evidence on that point, and as the overcrowding claim
related only to the delay in giving Plaintiff access to his cell, there has been no constitutional violation in any event.
         22
              Lewis v. Casey, 518 U.S. 343, 350 (1996).
         23
              Oliver v. Fauver, 118 F.3d 175, 177 (3d Cir. 1997).
         24
              Christopher v. Harbury, 536 U.S. 403, 415 (2002).
         25
          Even if the extradition proceeding were carried out improperly, Plaintiff could not challenge its legality
once he was returned to Arkansas. Harden v. Pataki, 320 F.3d 1289, 1299 (11th Cir. 2003).

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extradition hearing is not part of an adversary judicial proceeding and the right to counsel

therefore does not attach.26 Plaintiff therefore was not deprived of a constitutional right, and no

liability may be imposed against either Correction Officer Lynch or the City. 27

IV.      CONCLUSION

         Because Plaintiff cannot establish that he has been subjected to the violation of a right

protected by the United States Constitution, Defendants’ motion for summary judgment will be

granted. An order will be entered.




         26
            See Anderson v. Alameida, 397 F.3d 1175, 1180 (9th Cir. 2005); DeSilva v. Leonardi, 181 F.3d 865, 868
(7th Cir. 1999); Chewning v. Rogerson, 29 F.3d 418, 421 (8th Cir. 1994); McDonald v. Burrows, 731 F.2d 294, 297
(5th Cir. 1984).
         27
          Nonetheless, the Court is puzzled as to the reasons behind the purported directive limiting consultation
with counsel, and the conclusion that Plaintiff’s rights were not violated in this instance should not be taken as
approbation or an indication that a constitutional violation would not result under other circumstances.

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